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   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11 GRACIELA HERRERA, et al.,                     Case No. CV 16-02719 DSF (SKx)
  12               Plaintiffs,                     Honorable Dale S. Fischer
  13         vs.                                   NOTICE OF CONDITIONAL
                                                   SETTLEMENT OF ENTIRE
  14 CITY OF LOS ANGELES, et al.,                  ACTION PENDING APPROVAL
  15               Defendants.
  16
  17         PLEASE TAKE NOTICE that the parties have reached a conditional
  18 settlement of this entire case. However, the settlement is subject to approval from
  19 the Los Angeles City Council.
  20         Upon approval of the settlement agreement, Plaintiffs will receive payment in
  21 two installments, the first payment to be made on or before May 11, 2018 and the
  22 second/final part of the settlement payment being made on or before September 1,
  23 2018. Further, assuming Plaintiffs receive the two installment payments as agreed,
  24 and as part of the settlement agreement, a judgment will not be entered against any
  25 of the Defendants. Thus, a [proposed] judgment has not been submitted to the Court.
  26         The Parties, through their respective counsel, request that this matter be
  27 stayed pending the approval of the settlement by the Los Angeles City Council.
  28 Further, the parties would request that the Court retain jurisdiction over this matter

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   1 for the limited purposes of 1) enforcing the settlement until the final settlement
   2 payment is received and the parties’ formal stipulation of dismissal has been filed
   3 and granted, which is expected to occur in September of 2018, and 2) enforcing the
   4 terms of the protective order until all protected materials have been returned or
   5 destroyed as set forth in the protective order.
   6        In the unlikely event that the settlement is not approved, the parties will
   7 immediately notify the Court and submit a [proposed] judgment.
   8
   9 DATED: April 10, 2018                LAW OFFICES OF DALE K. GALIPO
  10
  11                                       By /s/ Eric Valenzuela
  12                                         Dale K. Galipo
                                             Eric Valenzuela
  13                                         Attorneys for Plaintiffs
  14
  15 DATED: April 10, 2018                 CITY OF LOS ANGELES ATTORNEY’S
                                           OFFICE
  16
  17                                       By:         /s/ Colleen R. Smith
  18                                             Cory M. Brente
                                                 Colleen R. Smith
  19                                             Attorneys for Defendants
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                                                           NOTICE OF CONDITIONAL SETTLEMENT
